                 Case 1:20-cv-03377-DLF Document 70 Filed 08/06/21 Page 1 of 4



                              IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

ALABAMA ASSOCIATION OF
REALTORS®, et al.,
                       Plaintiffs,                                   Case No. 1:20-cv-03377-DLF
          v.
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,
                       Defendants.


                        THIRD AMENDMENT LAWYERS ASSOCIATION’S
                     MOTION FOR LEAVE TO FILE BRIEF AS AMICUS CURIAE
               Pursuant to LCvR 7(o), the Third Amendment Lawyers Association (“ÞALA”), hereby moves

for leave to file a brief as amicus curiae in support of Plaintiffs’ Emergency Motion to Enforce the

Supreme Court’s Ruling and to Vacate the Stay Pending Appeal. The proposed brief is being

conditionally filed herewith.

1.0            Movant’s Identity and Interest

               Amicus ÞALA is a national organization of attorneys who seek to protect and defend the

Third Amendment from government incursion. Because the Third Amendment is not frequently

invoked in ordinary litigation, it is the “runt piglet” of the Bill of Rights and frequently overlooked. 1

The ÞALA’s purpose, therefore, is to advocate respect for the Third Amendment wherever its
implications are overlooked.

               ÞALA’s stated mission is to: (1) educate the public about the right to be free from quartering;

(2) advocate for the right in court and in legislation; (3) foster scholarship on the third amendment;

(4) provide a forum for debate and discussion about quartering, and (5) enable supporters of the third

amendment to connect and assist each other. 2 ÞALA membership is open to any attorney admitted

      1
       Balko, Radley, “How Did America’s Police Become a Military Force on the Streets”, ABA
JOURNAL (Jul. 1, 2013), available at <https://www.abajournal.com/magazine/article/how_did_
americas_police_become_a_military_force_on_the_streets>.
   2
       See    Third     Amendment      Lawyers    Association,    “About”,    available    at
<http://thirdamendmentlawyers.weebly.com/about.html>.
                                                       -1-
                                 ÞALA Motion for Leave to File Brief as Amicus Curiae
                                               1:20-cv-03377-DLF
          Case 1:20-cv-03377-DLF Document 70 Filed 08/06/21 Page 2 of 4




to practice before any U.S. State or Territory who shows a commitment and passion for anti-

quartering.

2.0     Reasons Amicus Brief is Desirable

        The parties to this case are litigated the primary issues regarding the CDC’s extension of the

eviction moratorium and the recent ruling of the Supreme Court. The Complaint (ECF No. 1) focuses

on the Administrative Procedures Act and invokes the Article IV Privileges and Immunities Clause,

the First Amendment Petition Clause, the Fifth Amendment Takins and Due Process Clause, and the

Fourteenth Amendment Equal Protection and Due Process Clauses, and general Separation of Powers

jurisprudence. However, absent from the argument, but necessarily interwoven, is discussion of the

Constitutional prohibition on Non-Consensual Quartering of soldiers.

        Plaintiffs seek to recover possession of their properties from tenants who have failed to pay

their rent. Ordinarily, the eviction process would play out in the courts per the various state laws and

procedures. The CDC eviction moratorium prevents this. And, they cannot resort to “self-help”. As

a result, Plaintiffs are being forced to house individuals, i.e. quarter them, without their consent. Given

the size of the population at issue, some of these tenants are bound to be soldiers. To the extent the

CDC moratorium prohibits evicting a soldier, it runs afoul of the Third Amendment. None of the

parties have addressed this overlooked constitutional issue, thus ÞALA’s position is not adequately

represented by any party. Addressing this constitutional issue is relevant to the disposition of the case

as it governs, at least in part, the enforceability of the CDC moratorium. Thus, an amicus brief from

ÞALA, the only group that has identified the issue and is competent to address it, is desirable.

        Plaintiffs take no position on this motion. Defendants oppose this motion, but do not intend

to file a written opposition.

        //



        //




                                                 -2-
                           ÞALA Motion for Leave to File Brief as Amicus Curiae
                                         1:20-cv-03377-DLF
         Case 1:20-cv-03377-DLF Document 70 Filed 08/06/21 Page 3 of 4




       WHEREFORE ÞALA respectfully requests this Honorable Court permit them to file the

accompanying proposed amicus brief.



       Dated: August 6, 2021.                Respectfully submitted,
                                             /s/ Jay M. Wolman
                                             Jay M. Wolman (D.C. Bar No. 473756)
                                             RANDAZZA LEGAL GROUP, PLLC
                                             Marc J. Randazza (admission pending)
                                             RANDAZZA LEGAL GROUP, PLLC
                                             30 Western Avenue
                                             Gloucester, MA 01930
                                             Tel: (702) 420-2001
                                             ecf@randazza.com
                                             Attorneys for Amicus Curiae
                                             Third Amendment Lawyers Association (ÞALA)




                                              -3-
                        ÞALA Motion for Leave to File Brief as Amicus Curiae
                                      1:20-cv-03377-DLF
         Case 1:20-cv-03377-DLF Document 70 Filed 08/06/21 Page 4 of 4




                                                                       Case No. 1:20-cv-03377-DLF

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 6, 2021, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF. I further certify that a true and correct copy of the

foregoing document being served via transmission of Notices of Electronic Filing generated by

CM/ECF.

                                             /s/ Jay M. Wolman
                                             Jay M. Wolman




                                              -4-
                        ÞALA Motion for Leave to File Brief as Amicus Curiae
                                      1:20-cv-03377-DLF
